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                                      GREENPEACE FALSE STATEMENTS
     Date          Author             Description                         Statements
1.   3/10/2017     Greenpeace USA     Website Publication: Native         DAPL is a “threat to clean water” and “blatant
                   (Diamond           Nations Rise: Showing Solidarity    disregard of tribal sovereignty.”
                   Coleman)           in the Movement for Indigenous
                                      Sovereignty
2.   3/10/2017     Greenpeace USA     Website Publication: In             “The Dakota Access Pipeline . . . will face
                   (Cassady           Solidarity, Greeenpeace [sic]       unrelenting opposition because of . . . their abuses of
                   Craighill)         Supports Native Nations March in    environment and their cost to our public health.
                                      DC                                  These pipelines only make billionaires richer and
                                                                          keep us hitched to yesterday’s energy source.
                                                                          Meanwhile the people closest to their impacts
                                                                          disproportionately pay the price of a catastrophically
                                                                          altered climate, unbreathable air, and undrinkable
                                                                          water.”
3.   3/7/2017      Greenpeace USA     Website Publication: Greenpeace     Condemning “the criminal Dakota Access Pipeline.”
                   (Cassady           Responds to Court's Ruling
                   Craighill)         Against Standing Rock
4.   3/7/2017      Greenpeace USA     Website Publication: Greenpeace DAPL “violates the sovereignty of the Standing
                   (Cassady           Responds to Court's Ruling      Rock Sioux Tribe, the National Environmental
                   Craighill)         Against Standing Rock           Protection Act . . . and crystal clear moral
                                                                      imperatives that place the value of human life and
                                                                      the natural resources it depends upon over the
                                                                      interests of corporations.”
5.   2/7/2017      Greenpeace USA     Website Publication: NoDAPL:    [quoting Mary Sweeters:] DAPL is a “project[] that
                   (Jason Schwartz)   Greenpeace Responds to Granting threaten[s] Indigenous rights, clear water and air,
                                      of Easement                     and our climate.”
6.   2/7/2017      Greenpeace USA     Website Publication: NoDAPL:    [quoting Mary Sweeters:] “The Dakota Access
                   (Jason Schwartz)   Greenpeace Responds to Granting Pipeline poses a significant threat to the water
                                      of Easement                     supply of Standing Rock and to millions of other
                                                                      people downstream.”




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7.    2/7/2017      Greenpeace USA     Website Publication: NoDAPL:          [quoting Mary Sweeters:] “[DAPL's] construction
                    (Jason Schwartz)   Greenpeace Responds to Granting       has already desecrated sacred burial grounds and
                                       of Easement                           other historical sites nearby.”
8.    2/7/2017      Greenpeace USA     Website Publication: It's Time for    DAPL is “a project that violates Indigenous rights
                    (Mary Sweeters)    DAPL Funders to Decide Which          and threatens our climate”
                                       Side of History They Want to Be
                                       On
9.    2/7/2017      Greenpeace USA     Website Publication: It's Time for    Funding banks are companies “that disregarded
                    (Mary Sweeters)    DAPL Funders to Decide Which          Indigenous sovereignty, threatened the water supply
                                       Side of History They Want to Be       for millions, and sped up catastrophic climate
                                       On                                    change”
10.   2/7/2017      Greenpeace USA     Website Publication: It's Time for    The “original plans [for DAPL] included rerouting
                    (Mary Sweeters)    DAPL Funders to Decide Which          the pipeline from its original path near Bismarck,
                                       Side of History They Want to Be       North Dakota over concerns about the threat of a
                                       On                                    spill to the city's water supply.”
11.   2/7/2017      Greenpeace USA     Website Publication: It's Time for    Banks funding DAPL are “on notice for their role in
                    (Mary Sweeters)    DAPL Funders to Decide Which          supporting a project that . . . threatens our climate. . .
                                       Side of History They Want to Be       . [F]inancial institutions funding the project have a
                                       On                                    role to play, a moral obligation, and their own
                                                                             policies to abide in breaking ties from this project.
                                                                             Unless, of course, they want to be remembered as
                                                                             the company that . . . sped up catastrophic climate
                                                                             change.”
12.   2/7/2017      Greenpeace USA     Website Publication: It's Time for    DAPL “was rushed, lacked of proper government-
                    (Mary Sweeters)    DAPL Funders to Decide Which          to-government consultation with [SRST], and
                                       Side of History They Want to Be       ignored the warnings of multiple government
                                       On                                    agencies.”
13.   1/27/2017     Greenpeace USA     Website Publication: Pipe             DAPL is a “[p]roject[] that trample[s] Indigenous
                    (Jesse Coleman)    Dreams: Why Trump's Dakota            treaties and rights, while endangering the lives and
                                       Access and Keystone XL Plans          drinking sources of hundreds of thousands of people
                                       Don't Add Up                          . . . .”



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14.   1/25/2017      Greenpeace USA    Tweet                               “If this administration is going to fast track
                                                                           environmental destruction then relentless resistance
                                                                           will be the response. #NoDAPL #NoKXL”
15.   12/19/2016     Greenpeace USA    Website Publication: After          [quoting Greenpeace Nordic Climate and Energy
                     (Perry Wheeler)   Visiting Standing Rock, Swedish     Campaigner Rolf Lindahl:] “It’s an important step
                                       Bank Nordea Puts Companies          that Nordea put its foot down and now has specific
                                       Behind DAPL on Watch                requirements that the oil pipeline not go through the
                                                                           Standing Rock Sioux Tribe's land. It sends a clear
                                                                           signal to the world that the rights of indigenous
                                                                           peoples must be respected.”
16.   12/19/2016     Greenpeace USA    Website Publication: After           [quoting Mary Sweeters:] “Banks should not be
                     (Perry Wheeler)   Visiting Standing Rock, Swedish     funding projects that violate human rights and
                                       Bank Nordea Puts Companies          contribute to climate change. . . . This project is a
                                       Behind DAPL on Watch                crime against Indigenous sovereignty and human
                                                                           rights everywhere.”
17.   12/5/2016      Greenpeace USA    Website Publication: 3 Things       “[T]he Army Corps of Engineers will undertake the
                     (Mary Sweeters)   You Need to Know About the          full environmental impact statement it should have
                                       Dakota Access Pipeline Win          conducted in the first place”
18.   12/2/2016      Greenpeace USA    Website Publication: President-     [quoting Mary Sweeters:] “Millions of people will
                     (Perry Wheeler)   Elect Trump's Support for Dakota    lose access to a clean water supply, including the
                                       Access Pipeline Is Crony            Standing Rock Sioux Tribe, and the rest of America
                                       Capitalism at Its Worst             will face the impacts of catastrophic climate change
                                                                           from burning fossil fuels.”
19.   12/1/2016      Greenpeace USA    Website Publication: Activists      “The original permitting for the pipeline was fast
                     (Perry Wheeler)   Worldwide Close Accounts,           tracked without adequate tribal consultation and
                                       Demand Citibank Halt and            consent or environmental review.”
                                       Rescind Dakota Access Pipeline
                                       Loans
20.   12/1/2016      Greenpeace USA    Website Publication: Activists      [quoting Mary Sweeters:] DAPL is a “disastrous
                     (Perry Wheeler)   Worldwide Close Accounts,           project on behalf of a fossil fuel company willing to
                                       Demand Citibank Halt and            destroy Standing Rock's sacred land and water
                                       Rescind Dakota Access Pipeline      supply”
                                       Loans

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21.   12/1/2016      Greenpeace USA         Website Publication: Activists       [quoting Mary Sweeters:] Citibank “has signed off
                     (Perry Wheeler)        Worldwide Close Accounts,            on the human rights abuses we've seen from Energy
                                            Demand Citibank Halt and             Transfer Partners and its security team.”
                                            Rescind Dakota Access Pipeline
                                            Loans
22.   11/30/2016     Greenpeace Japan;      Open Letter                          There has been “excessive use of violence exercised
                     350.org Japan                                               on the protestors” in connection with DAPL
                                                                                 construction.
23.   11/30/2016     Greenpeace Japan;      Open Letter                          “[T]his project infringes on [SRST’s] traditional
                     350.org Japan                                               territories and threatens the health of their
                                                                                 waterways.”
24.   11/30/2016     Greenpeace Japan;      Open Letter                          DAPL is “likely to have a negative impact on the
                     350.org Japan                                               environment . . . .”
25.   11/30/2016     Joint letter, signed   Open Letter: Halt your support to    DAPL “threatens air and water resources in the
                     by 350.org; Bold       the Dakota Access Pipeline           region and further downstream.”
                     Alliance;
                     Greenpeace
                     France;
                     Greenpeace
                     International;
                     Greenpeace
                     Netherlands;
                     Greenpeace USA;
                     Rainforest Action
                     Network
26.   11/30/2016     Joint letter, signed   Open Letter: Halt your support to    “Given that Indigenous rights are presumed to be
                     by 350.org; Bold       the Dakota Access Pipeline           respected by the [Equator Principles Financial
                     Alliance;                                                   Institutions], . . . it is for us inexplicable that . . .
                     Greenpeace                                                  gross violations of Native land titles, threats to water
                     France;                                                     sources and the desecration of burial grounds have
                     Greenpeace                                                  not been identified early on as reasons for [BBVA]
                     International;                                              to not provide funding for this project.”

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                     Greenpeace
                     Netherlands;
                     Greenpeace USA;
                     Rainforest Action
                     Network
27.   11/30/2016     Joint letter, signed   Open Letter: Halt your support to    DAPL personnel deliberately desecrated
                     by 350.org; Bold       the Dakota Access Pipeline           documented burial grounds and other culturally
                     Alliance;                                                   important sites.”
                     Greenpeace
                     France;
                     Greenpeace
                     International;
                     Greenpeace
                     Netherlands;
                     Greenpeace USA;
                     Rainforest Action
                     Network
28.   11/30/2016     Joint letter, signed   Open Letter: Halt your support to    Accusing Energy Transfer “grievous human rights
                     by 350.org; Bold       the Dakota Access Pipeline           violations against water protectors,” through the use
                     Alliance;                                                   of “military equipment, tactics and weapons to
                     Greenpeace                                                  intimidate, assault, [and] arrest,” including
                     France;                                                     “[i]ndiscriminate use of attack dogs, rubber bullets,
                     Greenpeace                                                  concussion grenades, tazers and mace,” and attacks
                     International;                                              on protestors with “water cannons used in sub-zero
                     Greenpeace                                                  temperatures leading to life threatening situations . .
                     Netherlands;                                                . .”
                     Greenpeace USA;
                     Rainforest Action
                     Network
29.   11/30/2016     Joint letter, signed   Open Letter: Halt your support to    Stating that DAPL’s “pipeline trajectory is cutting
                     by 350.org; Bold       the Dakota Access Pipeline           through Native American sacred territories and
                     Alliance;                                                   unceded Treaty lands,”
                     Greenpeace

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                     France;
                     Greenpeace
                     International;
                     Greenpeace
                     Netherlands;
                     Greenpeace USA;
                     Rainforest Action
                     Network
30.   11/27/2016     Greenpeace USA      Tweet                                “NOW: 100s gather to demand @TheJusticeDept
                                                                              intervenes & stops the violence used against
                                                                              #StandingRock water protectors. #NoDAPL”
31.   11/25/2016     Greenpeace USA      Website Publication: Another         [quoting Mary Sweeters:] “The financial institutions
                                         Major Norwegian Investor             behind the pipeline are realizing that it is bad
                                         Divests From Companies Behind        business to invest in companies willing to disregard
                                         Dakota Access Pipeline               Indigenous sovereignty to destroy sacred Native
                                                                              lands and water supply”
32.   11/25/2016     Greenpeace USA      Website Publication: Another         [quoting Mary Sweeters:] “If [banks] continue to
                                         Major Norwegian Investor             allow human rights abuses to occur on their dollar,
                                         Divests From Companies Behind        despite their own policies against financing projects
                                         Dakota Access Pipeline               that violate Indigenous rights, we intend to bring a
                                                                              strong message to their doorsteps across the
                                                                              country.”
33.   11/24/2016     Greenpeace USA      Tweet                                “As you enjoy this day with your family, don't
                                                                              forget that Indigenous people are still under attack.
                                                                              #NoDAPL http://huff.to/2gmUqpi”
34.   11/21/2016     Greenpeace USA      Tweet                                “Militarized response to peaceful protest and
                     (Annie Leonard)                                          indigenous rights is indefensible. #NoDAPL
                                                                              #StandingWithStandingRock #WaterIsLife”
35.   11/21/2016     Greenpeace USA      Website Publication: Young           “[P]eaceful, nonviolent encampment on Standing
                     (Perry Wheeler)     Women Shut Down TD Bank,             Rock Sioux Tribal land in the path of the pipeline
                                         Call for Divestment of the Dakota    [and] Water Protectors . . . have been met with
                                         Access Pipeline                      extreme violence, such as the use of water cannons,
                                                                              pepper spray, concussion grenades, tasers, LRADs

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                                                                             (Long Range Acoustic Devices), and dogs, from
                                                                             local and national law enforcement, and Energy
                                                                             Transfer Partners and their private security.”


36.   11/21/2016     Greenpeace USA     Website Publication: Young           DAPL “poses a significant threat to the water supply
                     (Perry Wheeler)    Women Shut Down TD Bank,             of the Standing Rock Sioux and millions of other
                                        Call for Divestment of the Dakota    people downstream, and would desecrate sacred
                                        Access Pipeline                      burial grounds, religious, and other historical sites.”
37.   11/21/2016     Greenpeace USA     Website Publication: Young           “The pipeline violates . . . the Treaty of Fort
                     (Perry Wheeler)    Women Shut Down TD Bank,             Laramie of 1851.”
                                        Call for Divestment of the Dakota
                                        Access Pipeline
38.   11/21/2016     Greenpeace USA     Website Publication: Young           “We’re here to tell TD Bank that destroying
                     (Perry Wheeler)    Women Shut Down TD Bank,             indigenous land and poisoning the water of
                                        Call for Divestment of the Dakota    thousands of people is bad for business.”
                                        Access Pipeline
39.   11/18/2016     Greenpeace USA     Website Publication: Largest         “All financial institutions with a stake in the pipeline
                     (Perry Wheeler)    Bank In Norway Sells Its Assets      must quickly realize that financing this project is
                                        In Dakota Access                     toxic. It would be smart for them to get out ahead of
                                                                             the growing movement of customers looking to
                                                                             divest from banks that finance the destruction of our
                                                                             planet and ignore Indigenous rights and
                                                                             sovereignty.”
40.   11/18/2016     Greenpeace USA     Website Publication: Exxon Just      “For months, the Standing Rock Sioux have been
                     (Brian Johnson)    Reminded Us Why Fossil Fuels         resisting the construction of a pipeline through their
                                        are On The Way Out                   tribal land and waters that would carry oil from
                                                                             North Dakota's fracking fields to Illinois.”
41.   11/16/2016     Greenpeace USA     Website Publication: #NoDAPL         “Dakota Access Pipeline . . . directly threaten[s] the
                     (Ryan Schleeter)   Day of Action Draws Tens of          sacred lands and water source of the Standing Rock
                                        Thousands, Lights Up Social          Sioux Tribe . . . .”
                                        Media

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42.   11/16/2016     Greenpeace USA         Website Publication: #NoDAPL       “For months, the Standing Rock Sioux and allies
                     (Ryan Schleeter)       Day of Action Draws Tens of        have been peacefully protesting the crude oil
                                            Thousands, Lights Up Social        pipeline, but have been met with aggression and
                                            Media                              violence from Dakota Access private security and
                                                                               construction crews.”
43.   11/15/2016     Greenpeace USA         Tweet                              “Peaceful Water Protectors at Standing Rock have
                                                                               been met with violence from private security &
                                                                               construction crews. We stay for them. #NoDAPL”
44.   11/14/2016     Greenpeace USA         Website Publication: Greenpeace    “[N]o matter where this disaster of a project crosses
                     (Perry Wheeler)        Responds to Army Corps'            the Missouri River, it will jeopardize precious water
                                            Decision to Engage Standing        supply downstream.” (quoting GP spokesperson
                                            Rock Sioux Tribe on Dakota         Lilian Molina)
                                            Access Pipeline
45.   11/14/2016     Greenpeace USA         Website Publication: Greenpeace    “It is abundantly clear that the tribe was not
                     (Perry Wheeler)        Responds to Army Corps'            adequately consulted in the permitting process . . . .”
                                            Decision to Engage Standing
                                            Rock Sioux Tribe on Dakota
                                            Access Pipeline
46.   11/14/2016     Greenpeace USA         Website Publication: Greenpeace    There is a “need to respect the Tribe's rights and
                     (Perry Wheeler)        Responds to Army Corps'            sovereignty moving forward. The previous decision
                                            Decision to Engage Standing        to reroute the pipeline from Bismarck, a city that is
                                            Rock Sioux Tribe on Dakota         mostly white, to just north of Standing Rock is a
                                            Access Pipeline                    clear case of environmental racism.” (quoting GP
                                                                               spokesperson Lilian Molina)
47.   11/7/2016      Joint letter, signed   Letter to consortium of banks      DAPL “threatens air and water resources in the
                     by Greenpeace,         financing DAPL                     region and further downstream . . . . Given the
                     Sierra Club, RAN                                          presumed Indigenous rights commitments of
                                                                               [banks], it is for us inexplicable that . . . threats to
                                                                               water sources . . . have not been identified early on
                                                                               as reasons for EPFIs to not provide funding for this
                                                                               project.”



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48.   11/7/2016     Joint letter, signed   Letter to consortium of banks       DAPL is a “climate destroying project.”
                    by Greenpeace,         financing DAPL
                    Sierra Club, RAN
49.   11/7/2016     Joint letter, signed   Letter to consortium of banks       “[T]he pipeline trajectory is cutting through Native
                    by Greenpeace,         financing DAPL                      American sacred territories and unceded Treaty
                    Sierra Club, RAN                                           lands . . . .”
50.   11/7/2016     Joint letter, signed   Letter to consortium of banks    “Harm to Native areas ha[d] already occurred when
                    by Greenpeace,         financing DAPL                   DAPL personnel deliberately desecrated
                    Sierra Club, RAN                                        documented burial grounds and other culturally
                                                                            important sites.”
51.   11/4/2016     Greenpeace USA         Website Publication: Greenpeace “Yesterday over 100 Indigenous people, allies, and
                    (Perry Wheeler)        Calls on President Obama to Take journalists were hurt on sacred Native land during a
                                           Immediate Action for Standing    peaceful prayer action.”
                                           Rock Water Protectors
52.   11/4/2016     Greenpeace USA         Website Publication: Greenpeace “The water protectors who were attacked were
                    (Perry Wheeler)        Calls on President Obama to Take peaceful and non-provocative toward the police who
                                           Immediate Action for Standing    have continued to force Native communities off
                                           Rock Water Protectors            their own land.”

53.   11/4/2016     Greenpeace USA         Website Publication: Greenpeace The “government has unjustly restricted Indigenous
                    (Perry Wheeler)        Calls on President Obama to Take communities' rights and ability to access their own
                                           Immediate Action for Standing    land, repeatedly ignoring Native sovereignty.”
                                           Rock Water Protectors
54.   11/4/2016     Greenpeace USA         Website Publication: Greenpeace     “Native lives are under attack and sacred land and
                    (Perry Wheeler)        Calls on President Obama to Take    water supply is at stake.”
                                           Immediate Action for Standing
                                           Rock Water Protectors
55.   11/4/2016     Greenpeace USA         Website Publication: Greenpeace     “[T]his . . . pipeline[] pose[s] immediate threats to
                    (Perry Wheeler)        Calls on President Obama to Take    our land, water, and climate.”
                                           Immediate Action for Standing
                                           Rock Water Protectors

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56.   11/4/2016       Greenpeace USA    Tweet                               “Re-routing Dakota Access Pipeline Won’t Make it
                      (Mary Sweeters)                                       Less Dangerous to the Environment or Climate
                                                                            http://therealnews.com/t2/index.php?option=com_co
                                                                            ntent&task=view&id=31&Itemid=74&jumival=175
                                                                            74#.WByyDJJtzaA.twitter … #NoDAPL”
57.   11/4/2016       Greenpeace USA    Tweet                               “Re-routing Dakota Access pipeline won’t make it
                                                                            less dangerous to the environment or our climate!
                                                                            #NoDAPL http://bit.ly/2fJ1XkI”
58.   11/2/2016       Greenpeace USA    Website Publication: There Are      DAPL is “devastating to Native communities and
                      (Perry Wheeler)   No Safe Options for 'Rerouting'     lands”; “Indigenous lives are under attack.”
                                        the Dakota Access Pipeline
59.   10/28/2016      Greenpeace USA    Website Publication: How You        “[W]e’re taking back our power and charging the
                                        Can Show Your Solidarity in the     pipeline companies, banks, and individuals behind
                                        Fight Against the Dakota Access     this project with crimes against humanity and crimes
                                        Pipeline                            against Mother Earth.”
60.   10/28/2016      Greenpeace USA    Website Publication: How You        “The Dakota Access Pipeline is in direct violation of
                                        Can Show Your Solidarity in the     the United Nations’ Declaration on the Rights of
                                        Fight Against the Dakota Access     Indigenous Peoples, particularly with regard to the
                                        Pipeline                            right to free and prior informed consent, desecration,
                                                                            redress, militarization, development, treaties, and
                                                                            judicial proceedings . . . [and] the United Nations’
                                                                            Declaration of Universal Human Rights, especially
                                                                            with respect to the right to security of person and the
                                                                            right to not be subjected to torture or to cruel,
                                                                            inhuman, or degrading treatment or punishment.”
61.   10/4/2016       Greenpeace USA    Website Publication: In Case You    DAPL is “a project that tramples Indigenous rights
                                        Were Wondering, Donald Trump        and pushes us closer to climate disaster”
                                        Has Multiple Ties to the Dakota
                                        Access Pipeline
62.   9/24/2016       Greenpeace USA    Website Publication: "These Are     DAPL is being built by a “wealthy corporation [that]
                      (Peter Dakota     Our Prayers in Action" -- A look    has attempted to sacrifice the water and well-being
                      Molof)            at Life in the #NoDAPL              of Indigenous people for profit.”
                                        Resistance Camps

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63.   9/16/2016      Greenpeace USA       Website Publication: Supply          “Dakota Access Pipeline . . . will carry more than
                                          Drives for the Red Warrior and       400,000 barrels of crude oil a day across [SRST's]
                                          Sacred Stone Camps                   ancestral lands . . . .”
64.   9/9/2016       Greenpeace USA       Website Publication: How You         Protesters are resisting “construction of a crude oil
                     (Rachel Prokop)      Can Help Standing Rock               pipeline [DAPL] on ancestral lands . . . .”
                                          Activists Stop the Dakota Access
                                          Pipeline
65.   9/9/2016       Greenpeace USA       Website Publication: How You         “[C]onstruction crews have reacted with aggression
                     (Rachel Prokop)      Can Help Standing Rock               and violence . . . .”
                                          Activists Stop the Dakota Access
                                          Pipeline
66.   9/9/2016       Greenpeace USA       Website Publication: How You         “[P]rivate security forces set dogs and pepper spray
                     (Rachel Prokop)      Can Help Standing Rock               upon a crowd that included young children, injuring
                                          Activists Stop the Dakota Access     30 activists . . . .”
                                          Pipeline
67.   9/9/2016       Greenpeace USA       Website Publication: How You         “The pipeline was approved without adequate
                     (Rachel Prokop)      Can Help Standing Rock               environmental reviews or consultation from the
                                          Activists Stop the Dakota Access     community . . . .”
                                          Pipeline
68.   9/9/2016       Greenpeace USA       Website Publication: How You         DAPL “would carry more than 400,000 barrels of
                     (Rachel Prokop)      Can Help Standing Rock               crude oil a day across [SRST's] ancestral lands”
                                          Activists Stop the Dakota Access
                                          Pipeline
69.   8/30/2016      Greenpeace USA       Tweet                                “We have rights, and one of those rights is the right
                                                                               to clean water." #NoDAPL #WaterIsLife”
70.   8/25/2016      Rainforest Action    Letter: Halt Construction and        “This pipeline would travel through the Standing
                     Network; Bold        Repeal the Army Corps of             Rock Sioux Tribe’s ancestral lands and pass within
                     Alliance; 350.org;   Engineers Permits for the Dakota     half a mile of its current reservation.”
                     Minnesota 350;       Access Pipeline Project
                     350 Madison;
                     Greenpeace



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71.   8/25/2016      Rainforest Action    Letter: Halt Construction and        “The pipeline poses significant threats to the
                     Network; Bold        Repeal the Army Corps of             environment, public health, and tribal and human
                     Alliance; 350.org;   Engineers Permits for the Dakota     rights.”
                     Minnesota 350;       Access Pipeline Project
                     350 Madison;
                     Greenpeace
72.   Undated        Greenpeace USA       Website Publication: Indigenous      “[T]he 1,100-mile pipeline [ ] threatens sacred
                     (Perry Wheeler)      Youth Travel From Standing           Indigenous land and water supply.”
                                          Rock to Clinton Headquarters to
                                          Demand Answers on Dakota
                                          Access Pipeline
73.   Undated        Greenpeace USA       Website Publication: Indigenous      DAPL “plac[es] serious risk to the nation's water
                     (Perry Wheeler)      Youth Travel From Standing           supply . . . .”
                                          Rock to Clinton Headquarters to
                                          Demand Answers on Dakota
                                          Access Pipeline
74.   Undated        Greenpeace USA       Website Publication: Indigenous      “[DAPL] is a direct violation of the sovereign rights
                     (Perry Wheeler)      Youth Travel From Standing           and culture of [SRST].”
                                          Rock to Clinton Headquarters to
                                          Demand Answers on Dakota
                                          Access Pipeline
75.   Undated        Greenpeace USA       Website Publication: Indigenous      DAPL is “violating federal trust responsibilities
                     (Perry Wheeler)      Youth Travel From Standing           guaranteed through treaties with the Dakota, Lakota,
                                          Rock to Clinton Headquarters to      and Nakota tribes, and desecrating burial and other
                                          Demand Answers on Dakota             historical sites.”
                                          Access Pipeline
76.   Undated        Greenpeace USA       Website Publication: Greenpeace      DAPL is in “direct violation of the sovereign rights
                     (Perry Wheeler)      Statement of Solidarity With         and culture of [SRST], placing serious risk to the
                                          Standing Rock Water Protectors       nation's water supply, violating federal trust
                                                                               responsibilities guaranteed through treaties with the
                                                                               Dakota, Lakota, and Nakota tribes, and desecrating
                                                                               sacred burial, religious, and other historical sites.”


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                                     GREENPEACE FALSE STATEMENTS
77.   Undated      Greenpeace USA    Website Publication: Activists     Energy Transfer is “willing to destroy Standing
                   (Perry Wheeler)   Worldwide Close Accounts,          Rock’s sacred land and water supply . . . .” (quoting
                                     Demand Citibank Halt and           Greenpeace USA’s Mary Sweeters)
                                     Rescind Dakota Access Pipeline
                                     Loans
78.   Undated      Greenpeace USA    Website Publication: Activists     Funding banks “signed off on the human rights
                   (Perry Wheeler)   Worldwide Close Accounts,          abuses we’ve seen from Energy Transfer Partners
                                     Demand Citibank Halt and           and its security team.”
                                     Rescind Dakota Access Pipeline
                                     Loans
79.   Undated      Greenpeace USA    Website Publication: Activists     DAPL was “fast tracked without adequate tribal
                   (Perry Wheeler)   Worldwide Close Accounts,          consultation and consent or environmental review.”
                                     Demand Citibank Halt and
                                     Rescind Dakota Access Pipeline
                                     Loans




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